                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06CR251-5


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )              ORDER
                                                  )
JOHN EDWARD PATTERSON,                            )
a/k/a PAT PATTERSON,                              )
                                                  )
                  Defendant.                      )
________________________________________          )


        THIS CAUSE coming on to be heard and being heard before the undersigned, upon

a motion entitled, “Motion for Reconsideration of Detention” (#95) filed by defendant’s

counsel requesting that the defendant be released on electronic monitoring. It appearing to

the court that the defendant was present with his counsel, Stanford K. Clontz and that the

Government was present through Assistant United States Attorney, Richard Edwards and

from the evidence offered by the Government and by the defendant, the undersigned makes

the following findings:

        Findings:    A bill of indictment was issued by the grand jury on October 3, 2006

charging the defendant with conspiracy to possess with intent to distribute cocaine base. On

December 22, 2006 a detention hearing was held regarding the defendant. The undersigned

entered an order detaining the defendant but allowing the defendant to participate in the Jail

Based Inpatient Treatment Program and further finding that if the defendant successfully

completed the program that defendant’s counsel may file a motion asking the court to

reconsider the issue of detention based upon a change of circumstances. On February 13,


      Case 1:06-cr-00251-MR-WCM           Document 109         Filed 02/21/07       Page 1 of 4
2007 the defendant filed the motion herein. On February 9, 2007, the United States

Probation Office filed a notice that the defendant had completed the Jail Based Inpatient

Treatment Program but recommended that the defendant remain in custody based upon the

following risk factors:

       1)     lengthy criminal record

       2)     history involving violence and assaultive defenses

       3)     history of probation violations and revocations

       4)     substance abuse history

       5)     unstable employment history

       The evidence of the defendant showed that the defendant’s mother is confined in a

nursing home and is terminally ill and that the defendant would like to visit with her and be

with her prior to sentencing. The defendant further presented evidence that he had completed

the Jail Based Inpatient Treatment Program and had been very active in the program and that

the defendant had benefitted greatly from his participation in the program.

       The undersigned incorporates the findings as set forth in the detention order entered

on January 5, 2007. In that order, the court found that the defendant had been convicted of

twenty-one separate misdemeanors, including seven misdemeanors involving the use of

either alcohol or controlled substances. The defendant has been convicted of several

misdemeanors offenses involving crimes of violence, that being resisting a public office and

assault on a government official. In addition, the defendant has been convicted of felony



                                             2


    Case 1:06-cr-00251-MR-WCM             Document 109          Filed 02/21/07     Page 2 of 4
common law robbery in 1994 and felony taking indecent liberties with a child in 1994. Of

particular concern to the undersigned at the time of the detention hearing was that the

defendant had been released on conditions of bond in McDowell County Superior Court on

or about December 15, 2004 on charges of felony possession with intent to manufacture, sell

and deliver a schedule II controlled substance, felony maintaining a vehicle or dwelling place

for the purpose of keeping a controlled substance, felony possession of cocaine and

misdemeanor possession of drug paraphernalia. It appears that almost a year later while

those charges were pending, the defendant was charged on December 14, 2005 with felony

obtaining by false pretense. The defendant was again released on terms and conditions of

pretrial release.

       Discussion: The undersigned has reconsidered the release of the defendant. The

undersigned finds that the nature and circumstances of the offense charged do involve a

narcotic drug; that the weight of the evidence against the defendant appears to have some

weight based upon the arguments of counsel. The defendant’s criminal record is significant

as is set forth above. From the criminal record, it appears that at the time of the current

offense or arrest, the defendant was on release pending trial on at least two additional felony

charges. It further appears to the undersigned that based upon the criminal record of the

defendant that the release of the defendant would create a danger to any other person or the

community. The court has great sympathy for the defendant concerning his mother and her

ill health, however, the protection of the community must be an overriding concern in regard



                                              3


    Case 1:06-cr-00251-MR-WCM            Document 109       Filed 02/21/07     Page 3 of 4
to the issue of whether or not the defendant should be released. After reconsidering all

factors, the undersigned has determined to enter an order denying the motion of the defendant

and entering an order ordering that the defendant continue to be held in detention.

                                         ORDER

       WHEREFORE IT IS ORDERED that the motion (#95) of the defendant is DENIED

and that the defendant be continued to be held in detention in this matter.




                                             Signed: February 21, 2007




                                             4


   Case 1:06-cr-00251-MR-WCM           Document 109       Filed 02/21/07      Page 4 of 4
